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                                                   CORRECTED


         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-1465V
                                         UNPUBLISHED


    JOSEPH CROCKER,                                            Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: September 22, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Shoulder Injury Related to
                        Respondent.                            Vaccine Administration (SIRVA).


Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

      On September 24, 2019, Joseph Crocker filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) causally related to his receipt of the influenza (“flu”) vaccine on
October 16, 2018. Petition at 1; Stipulation filed September 22, 2021 (ECF No. 38) at ¶¶
1-4.

      On September 22, 2021, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.



1
  Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $35,550.00 in the form of a check payable to Petitioner.
                Stipulation at ¶ 8. This amount represents compensation for all items of
                damages that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

 JOSEPH CROCKER,

                        Petitioner,
                                                         No. 19-1465V
       V.                                                Chief Special Master Corcoran (SPU)
                                                         ECF
 SECRETARY OF HEALTH AND
 HUMAN SER VICES,

                        Respondent.


                                            STIPULATION

The parties hereby stipulate to the following matters:

        1. Petitioner Joseph Crocker ("petitioner") filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

"Vaccine Program''). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine

Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received his flu immunization on October 16, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that he suffered a shoulder injury related to vaccine administration

("SIRVA'') within the time period set fmth in the Table, that his alleged shoulder condition is

actually caused by the vaccine, and fu1ther alleges that he experienced the residual effects of his

injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of his condition.
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        6. Respondent denies that petitioner sustained a SIRVA Table injury and denies that

petitioner·s alleged shoulder injury and its residual effects were caused-in-fact by his flu vaccine.

Respondent further denies that the flu vaccine caused petitioner any other injury or his current

condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(I). the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

               A lump sum of $35,550.00 in the form of a check payable to petitioner.
               This amount represents compensation for all damages, including pain
               and suffering and past out-of-pocket medical expenses, that would be
               available under 42 U.S.C. § 300aa- I 5(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)( I), and an application, the pa11ies will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and his attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 ct seq.)), or entities that provide health services on a pre-paid basis.


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        I I. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys· fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns.

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements. judgments, claims, damages, loss of services. expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l O et seq .. on account of, or in any way growing out of, any and all

known or unknown. suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 16. 2018. as

alleged by petitioner in his petition for vaccine compensation filed on September 24, 2019, m

the United States Cou11 of Federal Claims as petition No. 19- l 465V.

        14. If petitioner should die prior to entry of judgment. this agreement shall be voidable

upon proper notice to the Cou1t on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either paity.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986. as amended. except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do an y act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought. is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccination caused petitioner to suffer a

shoulder injury or an y other injury.

        18. All ri ghts and obligations of petitioner hereunder shall appl y equally to petitioner's

heirs. executors. administrators. successors. and/or assigns.

                                        END OF STIPULATION
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Respectfully submitted,


PETITIONER:




ATTORNEY OF RECORD FOR                          AUTHORIZED REPRESENTATIVE
PETI ONER:                                      OF THE ATTORNEY GENERAL:


                                               ~~ ¼- ~~
                                                HEJ\ TI-IER L. PEARLMAN
Maglio. Christopher & Toale. P.A.               Deputy Director
1605 Main Street. Suite 710                     Torts Branch, Civil Division
Sarasota, FL 34236                              U.S. Department of Justice
Tel: (888) 952-5242                             P.O. Box 146
Emai I: atoale@mctlaw.com                       Benjamin Franklin Station
                                                Washington. DC 20044-0146



AUTHORIZED REPRESENTATIVE                       ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                      RESPONDENT:
AND HUMAN SERVICES:




TAMARA OVERBY                                   ADRIANA TEITEL
Acting Director. Division of Injury             Trial Attorney
    Compensation Programs                       Torts Branch. Civil Division
Healthcare Systems Bureau                       U.S. Department of Justice
Health Resources and Services                   P.O. Box 146
    Administration                              Benjamin Franklin Station
U.S. Department of Health                       Washington. DC 20044-0146
   and Human Services                           Tel: (202) 616-3677
5600 Fishers Lane, 08N 146B                     Email: adriana.teitel c usdoj.gov
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Rockville. MD 20857




Dated:   ~ /2,1 )'ZP?! I


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